                            Case 1:18-mj-00044-HKS Document 1 Filed 05/07/18 Page 1 of 27
AO 106(Rev. 01/09) Application for a Search Warrant                                                                                                     DIST/:?//


                                                                                                     District Cou                                      0 7 2018
                                                                                              for the
                                                                                                                                                                    iky
                                                                       Western District of New York
                                                                                                                                                 g£WENGU2)j><^\^ ^
                                                  In the Matter of the Search of
                                                                                                                                                      blSTRlSl^
                              (Briefly Jesenhe :he propetty to he searched or ideruifl' the pejsci hy ihiiueaiid address.)


 SAMSUNG MODEL SM0G55DT1,FCC ID: A3LSMG550T                                                                                             Case No. 18-M         -Hi
                                                   APPLICATION FOR A SEARCH WARRANT

       I, a federal law enforcement officer or an attorney for the government, request a search warrant and state
under penalty of perjury that I have reason to believe that on the following person or property admify the person or describe the
property to be searched andgive its location)'.



 SAMSUNG MODEL SM0G55DT1, FCC ID: A3LSMG550T, further described in Exhibit A (attached and
 incorporated by reference).

located in the Western District of New York, there is now concealed (identify the person or describe the property to be seued):
 The items set forth on the attached schedule of items to be seized, attached hereto as Exhibit B and incorporated by
 reference.

The basis for search under Fed. R. Grim. P. 41(c) is (check one or more)'.
            s evidence of a crime;
            Ki contraband, fruits of crime, or other items illegally possessed;
            s property designed for use, intended for use, or used in committing a crime;
            □ a person to be arrested or a person who is unlawfully restrained.
The search is related to violations of 21 U.S.C. §§ 841(a)(1) and 846.

The application is based on these facts:

            a     continued on the attached sheet.
            □     Delayed notice of                         days (give exact ending date if more than 30 days:                                            -) is
                  requested under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.




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                                                                                                            S. R. CORY HlGGfNS
                                                                                                            Task Force Officer
                                                                                                            Drug Enforcement Administration
                                                                                                                              Printed name and title


Sworn to before me and signed in my presence.

Date; Mav 7.2018
                                                                                                                                      e s signature



                                                                                                           HON. H. KENNETH SCHROEDER, JR
City and state: Buffalo. New York                                                                          United States Magistrate Judge
                                                                                                                               Printed name and Title
Case 1:18-mj-00044-HKS Document 1 Filed 05/07/18 Page 2 of 27
Case 1:18-mj-00044-HKS Document 1 Filed 05/07/18 Page 3 of 27
Case 1:18-mj-00044-HKS Document 1 Filed 05/07/18 Page 4 of 27
Case 1:18-mj-00044-HKS Document 1 Filed 05/07/18 Page 5 of 27
Case 1:18-mj-00044-HKS Document 1 Filed 05/07/18 Page 6 of 27
Case 1:18-mj-00044-HKS Document 1 Filed 05/07/18 Page 7 of 27
Case 1:18-mj-00044-HKS Document 1 Filed 05/07/18 Page 8 of 27
Case 1:18-mj-00044-HKS Document 1 Filed 05/07/18 Page 9 of 27
Case 1:18-mj-00044-HKS Document 1 Filed 05/07/18 Page 10 of 27
Case 1:18-mj-00044-HKS Document 1 Filed 05/07/18 Page 11 of 27
Case 1:18-mj-00044-HKS Document 1 Filed 05/07/18 Page 12 of 27
Case 1:18-mj-00044-HKS Document 1 Filed 05/07/18 Page 13 of 27
Case 1:18-mj-00044-HKS Document 1 Filed 05/07/18 Page 14 of 27
Case 1:18-mj-00044-HKS Document 1 Filed 05/07/18 Page 15 of 27
Case 1:18-mj-00044-HKS Document 1 Filed 05/07/18 Page 16 of 27
Case 1:18-mj-00044-HKS Document 1 Filed 05/07/18 Page 17 of 27
Case 1:18-mj-00044-HKS Document 1 Filed 05/07/18 Page 18 of 27
Case 1:18-mj-00044-HKS Document 1 Filed 05/07/18 Page 19 of 27
Case 1:18-mj-00044-HKS Document 1 Filed 05/07/18 Page 20 of 27
Case 1:18-mj-00044-HKS Document 1 Filed 05/07/18 Page 21 of 27
Case 1:18-mj-00044-HKS Document 1 Filed 05/07/18 Page 22 of 27
Case 1:18-mj-00044-HKS Document 1 Filed 05/07/18 Page 23 of 27
Case 1:18-mj-00044-HKS Document 1 Filed 05/07/18 Page 24 of 27
Case 1:18-mj-00044-HKS Document 1 Filed 05/07/18 Page 25 of 27
Case 1:18-mj-00044-HKS Document 1 Filed 05/07/18 Page 26 of 27
Case 1:18-mj-00044-HKS Document 1 Filed 05/07/18 Page 27 of 27
